Case 3:21-cv-00367-RGJ-CHL             Document 161        Filed 10/11/24      Page 1 of 14 PageID #:
                                              3481



                            THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE
                                     Electronically Filed

 SISTERS FOR LIFE, INC., et al.,                                                        PLAINTIFFS

 v.                                                                     Case No. 3:21-cv-00367-RGJ

 LOUISVILLE/JEFFERSON COUNTY
 METRO GOVERNMENT, et al.,                                                            DEFENDANTS

                 PLAINTIFFS’ MOTION FOR ATTORNEY FEES AND COSTS
           Plaintiffs, Sisters for Life, Inc., Kentucky Right to Life, Inc., and Angela Minter, through

 Counsel, and pursuant to 42 U.S.C. §1988 and L.R. 54.2, move this Court to award their reasonable

 attorney fees and litigation expenses/costs. This motion is supported by the declarations of counsel,

 supporting exhibits, and the declaration of Jason Nemes, Esq. A memorandum in support is

 attached hereto and a proposed order is attached.

 Respectfully submitted,

 /s/ Christopher Wiest___________                        /s/ Thomas Bruns
 Christopher Wiest (KY 90725)                            Thomas B. Bruns (KBA 84985)
 Chris Wiest, Atty at Law, PLLC                          Bruns Connell Vollmar Armstrong LLC
 50 E. Rivercenter Blvd., Ste. 1280                      4555 Lake Forest Dr., Suite 330
 Covington, KY 41011                                     Cincinnati, OH 45242
 513/257-1895 (c)                                        tbruns@bcvalaw.com
 chris@cwiestlaw.com                                     513-312-9890
 Attorneys for Plaintiffs

                                   MEMORANDUM IN SUPPORT

      I.   FACTS

           This case involved claims for declaratory and injunctive relief related to Defendants’ buffer

 zone ordinance. (Doc. 1.). While this court, at first, denied preliminary injunctive relief (Doc.

 55), the Sixth Circuit reversed (Doc. 63). After full discovery, extensive briefing (and additional

 briefing), and several evidentiary hearings (followed by yet additional briefing), on September 16,


                                                    1
Case 3:21-cv-00367-RGJ-CHL           Document 161        Filed 10/11/24      Page 2 of 14 PageID #:
                                            3482



 2024, this Court issued a merits-based permanent injunction enjoining enforcement of the

 ordinance and declaring it unconstitutional on First Amendment grounds. (Doc. 157.). Judgment

 was thereafter issued in favor of Plaintiffs. (Doc. 158).

        Now, Plaintiffs timely move for attorney fees and costs, supported by the declarations and

 exhibits of counsel, including invoices of counsel and expense logs. (See Decls. of Wiest and

 Bruns). Plaintiffs’ motion is also supported with the declaration of an outside counsel who has

 reviewed the underlying invoices for reasonableness. (See Dec. Nemes). As explained below, the

 rates are consistent with recent fee awards in this market and with a market-rate study that has

 been commissioned and relied upon. Id. The attorney fees sought by firm and billing attorney are

 as follows:

   Attorney (and firm)          Hourly rate                    Hours                  Total

  Thomas Bruns (Bruns          $550 (normal)            180.1 (normal)             $99,055.00
  Connell)                      $250 (travel)            12.4 (travel)              $3,410.00

  Chris Wiest (Chris           $525 (normal)            465.6 (normal)             $244,400.00
  Wiest Law)                    $250 (travel)                10.2 (travel)         $2,550.00_
  T.J. Roberts (Chris              $250                          3.2                 $800.00
  Wiest Law)
  TOTAL                                                                             $350,215


 (See Decls. of Wiest, Bruns). Plaintiffs reserve the right to supplement for time spent on the

 Reply to this motion, or for any additional time incurred on any appeal to any attorney fee

 decision. Northeast Ohio Coalition for the Homeless v. Husted, 831 F.3d 686, 723-724 (6th Cir.

 2016) (prevailing party attorney fees include time spent in litigating the fee application and

 defending any fee appeal). The total expenses sought by each firm are as follows:

           Firm                Expense total

  Bruns Connell                   $491.33




                                                  2
Case 3:21-cv-00367-RGJ-CHL            Document 161      Filed 10/11/24      Page 3 of 14 PageID #:
                                             3483



  Chris Wiest Law                 $3,876.53

  TOTAL                           $4,367.86

  (See Decls. of Wiest, Bruns).

  II.   LAW AND ARGUMENT

        A. Plaintiffs are the Prevailing Party and are entitled to attorney fees and costs

        Under 42 U.S.C. 1988(b), “[i]n any action or proceeding to enforce a provision of section[]

 …1983… the court, in its discretion, may allow the prevailing party, other than the United States,

 a reasonable attorney’s fee as part of the costs…” Although the plain text of 42 U.S.C. 1988(b)

 makes it seem that an award of fees to the prevailing party is discretionary, U.S. Supreme Court

 precedent makes clear that the public policy considerations behind 42 U.S.C. 1988 – namely, to

 help ensure that parties who vindicate civil rights (often for others) are able to obtain competent

 and qualified counsel and are successful in doing so – render such fee awards virtually mandatory.

 “Although § 1988 uses permissive language regarding fee awards, ‘the Supreme Court has read [§

 1988] as mandatory where the plaintiff prevails and special circumstances are absent.’” Déjà Vu

 v. Metro. Gov't of Nashville & Davidson Cnty., Tenn., 421 F.3d 417, 420 (6th Cir. 2005). And, on

 the issue of “special circumstances,” the Sixth Circuit has observed that “we have never (to our

 knowledge) found a 'special circumstance' justifying the denial of fees.” McQueary v. Conway,

 614 F.3d 591, 604 (6th Cir. 2010).

        That is because when a plaintiff succeeds in remedying a civil rights violation he serves

 “as a ‘private attorney general,’ vindicating a policy that Congress considered of the highest

 priority.” Newman v. Piggie Park Enterprises, Inc., 390 U.S. 400, 402 (1968) (per curiam). He

 therefore “should ordinarily recover an attorney’s fee” from the defendant--the party whose

 misconduct created the need for legal action. Christiansburg Garment Co. v. EEOC, 434 U.S. 412,

 416 (1978) (internal quotation marks omitted). Fee shifting in such a case at once reimburses a
                                                 3
Case 3:21-cv-00367-RGJ-CHL           Document 161        Filed 10/11/24      Page 4 of 14 PageID #:
                                            3484



 plaintiff for “what it cos[t] [him] to vindicate [civil] rights,” Riverside v. Rivera, 477 U.S. 561,

 577-578, 106 S. Ct. 2686, 91 L. Ed. 2d 466 (1986) (internal quotation marks omitted), and holds

 to account “a violator of federal law,” Christiansburg, 434 U.S. at 418.

        “The touchstone of the prevailing party inquiry ... is the material alteration of the legal

 relationship of the parties in a manner which Congress sought to promote in the fee statute.” Sole

 v. Wyner, 551 U.S. 74, 82 (2007) (internal citations and quotation marks omitted). “A material

 change ‘directly benefits’ a plaintiff by modifying the defendant’s behavior toward him.”

 McQueary v. Conway, 614 F.3d 591, 598 (6th Cir. 2010). And it is well settled that a permanent

 injunction confers prevailing party status. Lefemine v. Wideman, 568 U.S. 1 (2012); see also Fox

 v. Vice, 131 S.Ct. 2205, 2213 (2011) (prevailing civil rights plaintiff “should ordinarily recover an

 attorney’s fee from the defendant—the party whose misconduct created the need for legal action”)

 (quoting Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 416 (1978)).

        And a plaintiff “crosses the threshold to ‘prevailing party’ status by succeeding on a single

 claim, even if he loses on several others and even if that limited success does not grant him the

 ‘primary relief’ he sought.” Id. at 603 (quoting Tex. State Teachers Ass’n, 489 U.S. at 790-91).

 “[C]ourts do not look to the number of claims on which the plaintiff succeeded, the magnitude of

 the relief obtained, or whether the plaintiff obtained the primary relief sought; the question is

 simply whether the plaintiff has won on at least one claim.” Woods v. Willis, 631 F. App’x 359,

 364 (6th Cir. 2015).

         A reduction in attorney fees for a prevailing plaintiff “is to be applied only in rare and

 exceptional cases where specific evidence in the record requires it.” Isabel v. City of Memphis, 404

 F.3d 404, 416 (6th Cir.2005).




                                                  4
Case 3:21-cv-00367-RGJ-CHL          Document 161         Filed 10/11/24      Page 5 of 14 PageID #:
                                           3485



        B. The Amount of the Fees and Costs

        Computation of a prevailing party’s fee award under § 1988 is by the lodestar method –

 multiplying the number of hours “reasonably expended on the litigation” by the reasonable hourly

 rate. Wayne v. Village of Sebring, 36 F.3d 517 (6th Cir. 1994); Perdue v. Kenny A., 559 U.S. 542

 (2010); Anderson v. Wilson, 357 F.Supp.2d 991, 995 (E.D. Ky. 2005). In computing the amount,

 the “fee applicant bears the burden of establishing entitlement to an award and documenting the

 appropriate hours expended and hourly rates.” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).

 “If the fee applicant carries the burden of showing that the proposed hours and rate are reasonable,

 the proposed fee ‘is presumed to be the reasonable fee contemplated by § 1988.’” Anderson, 357

 F.Supp.2d at 955.

        In awarding attorneys’ fees, the “primary concern ... is that the fee awarded be reasonable,

 that is, one that is adequately compensatory to attract competent counsel yet which avoids

 producing a windfall for lawyers.” Adcock-Ladd v. Sec’y of Treasury, 227 F.3d 343, 349 (6th Cir.

 2000) (internal quotations and citation omitted). Consequently, a reduction in attorney fees for a

 prevailing plaintiff "is to be applied only in rare and exceptional cases where specific evidence in

 the record requires it." Isabel v. City of Memphis, 404 F.3d 404, 416 (6th Cir.2005).

    a. Reasonable hourly rates

        In assessing the reasonableness of an hourly rate, a court “should initially assess the

 'prevailing market rate in the relevant community,'” which is, “that rate which lawyers of

 comparable skill and experience can reasonably expect to command within the venue of the court

 of record.” Adcock-Ladd, 227 F.3d at 350. When it comes to the determination of reasonable

 hourly rates, a district court is permitted to “rely on a party’s submissions, awards in analogous

 cases, state bar association guidelines, and its own knowledge and experience in handling similar



                                                  5
Case 3:21-cv-00367-RGJ-CHL           Document 161        Filed 10/11/24       Page 6 of 14 PageID #:
                                            3486



 fee requests.” Van Horn v. Nationwide Prop. & Cas. Ins. Co., 436 F. App’x 496, 499 (6th Cir.

 2011); see also Dowling v. Litton Loan Servicing LP, 320 F. App’x 442, 447 (6th Cir. 2009).

        The Sixth Circuit has observed that it is appropriate to consider: (1) time and labor required;

 (2) the novelty and difficulty of the questions presented; (3) the skill needed to perform the legal

 service properly; (4) the preclusion of employment by the attorney due to acceptance of the case;

 (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time and limitations imposed

 by the client or the circumstances; (8) the amount involved and the results obtained; (9) the

 experience, reputation, and ability of the attorneys; (10) the "undesirability" of the case; (11) the

 nature and length of the professional relationship with the client; and (12) awards in "similar

 cases." Isabel v. City of Memphis, 404 F.3d 404, 415 (6th Cir. 2005).

        Recent cases in this district (and from this presiding judge) establish that rates between

 $537 and $646 per hour in this district are current market rates, based on a Price Waterhouse

 Coopers (“PwC”) market rate study that the court found reliable. Honorable Ord. of Ky.

 Colonels, Inc. v. Ky. Colonels Int'l., 2024 U.S. Dist. LEXIS 154478 (WDKY 2024) (market rates

 in the district on average are $537-$646 per hour, but awarding $520 per hour because that is

 what was asked for); Structures USA, LLC v. CHM Indus., Inc., 2024 U.S. Dist. LEXIS 148626

 (WDKY 2024) (market rates on average in the district between $537 and $646 per hour in this

 district are current market rates, but awarding $525 per hour because that is what was asked for);

 Honorable Ord. of Ky. Colonels, Inc. v. Ky. Colonels Int'l., 2023 U.S. Dist. LEXIS 202723

 (WDKY 2023) (market rates on average in the district between $537 and $646 per hour in this

 district are current market rates, but awarding $495 per hour to partner because that is what was

 asked for).




                                                  6
Case 3:21-cv-00367-RGJ-CHL           Document 161         Filed 10/11/24      Page 7 of 14 PageID #:
                                            3487



        A few weeks ago, this Court observed that “[b]ecause this Court issued that order [in Ky.

 Colonels Int'l.] less than a year ago, it finds the PwC Report still reliable to determine local

 market rates. In short, the Court has such information at hand to satisfy it that the hourly rates

 billed are reasonable and commensurate with the rates charged by firms of comparable talent and

 experience in this district for work in this area of practice.” Ward v. Borders, 2024 U.S. Dist.

 LEXIS 169214 at *12 (WDKY 2024).

        Here, Mr. Bruns seeks $550 per hour and Mr. Wiest seeks $525 per hour. (Dec. Wiest;

 Dec. Bruns). Compensation is sought for Mr. Wiest’s associate, Mr. Roberts, at $250 per hour.

 (Dec. Wiest). Travel time, unless accompanied by substantive legal work, was billed at half of

 normal time, at $250 per hour for Mr. Wiest and $275 per hour for Mr. Bruns, for travel to and

 from hearings for Mr. Wiest and Mr. Bruns. The Sixth Circuit has implied that travel time is fully

 compensable. Wayne v. Vill. of Sebring, 36 F.3d 517, 532 (6th Cir. 1994) ("[Plaintiffs] correctly

 point out that . . . the time spent traveling is fully compensable."). And other Kentucky district

 courts are in accord. See ACLU of Ky. v. McCreary Cnty., Ky., 2009 U.S. Dist. LEXIS 22206, 2009

 WL 720904, at *4 (E.D. Ky. Mar. 13, 2009); Crouch v. Rifle Coal Co., LLC, 2010 U.S. Dist.

 LEXIS 74984, 2010 WL 2961181, at *4 (E.D. Ky. July 26, 2010). Nevertheless, to avoid a dispute

 over a trivial issue, counsel billed at half of the normal rate for travel to and from hearings unless

 substantive work was performed, in which case full hourly rates were charged.

        Mr. Jason Nemes, an experienced civil rights litigator in Louisville, offers expert

 testimony on the issue of market rates in the Western District of Kentucky. (Declaration

 Nemes). He testifies that the requested hourly rates sought by Plaintiffs’ Counsel are well

 within market. Id. He likewise opines that the hours worked are reasonable. Id. Mr. Nemes

 undertook a significant analysis of the rates sought in this matter. He opines that the rates are



                                                   7
Case 3:21-cv-00367-RGJ-CHL            Document 161        Filed 10/11/24       Page 8 of 14 PageID #:
                                             3488



 “well within the range of fees charged by lawyers of comparable experience and skill who

 have been licensed for the period of time that they were when the work in this matter was

 performed.” Id. at ¶11.

        Mr. Nemes, also opines:

        I also take note of the importance of the issues raised by the Plaintiffs and advocated for
        by their attorneys in this litigation to all the citizens of the Commonwealth of Kentucky.
        And I recognize that not many attorneys were willing to take a case such as this because of
        the divisiveness of the underlying speech at issue. I did not put an amount on those
        considerations in my mind, but I note their importance to the question and to the appropriate
        amount of legal fees in this case. (Declaration Nemes, ¶ 16).

        Finally, the declarations of Plaintiffs’ Counsel demonstrate that they actually charge

 clients above the rates requested in this matter for federal court litigation. (See, e.g. Declaration

 Wiest; Declaration Bruns).

        As noted, the rates set forth above by Plaintiff’s Counsel are all in accordance with (or even

 below) the market rate ranges that this court found to be the relevant market, as set forth in Ky.

 Colonels Int'l., 2024 U.S. Dist. LEXIS 154478; CHM Indus., Inc., 2024 U.S. Dist. LEXIS 148626;

 and Ky. Colonels Int'l., 2023 U.S. Dist. LEXIS 202723.

    b. Hours expended

        The standard of review for the time entries “is whether a reasonable attorney would have

 believed the work to be reasonably expended in the pursuit of success at the point in time when

 the work was performed.” Sweeney v. Crigler, 2020 WL 7038977, *3 (E.D. Ky. Oct. 27, 2020)

 (citing Human Rights Def. Ctr. v. Ballard, 2020 WL 2513822, at *2 (E.D. Ky. May 15, 2020)

 (quoting Wooldridge v. Marlene Indus. Corp., 898 F.2d 1169, 1177 (6th Cir. 1990))).

        All attorney fees and time that are related to the claims that resulted in a judgment are

 compensable, even if a particular motion, a particular claim, or a particular appeal, was not

 successful. See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983). Indeed, the Supreme Court has

                                                   8
Case 3:21-cv-00367-RGJ-CHL           Document 161         Filed 10/11/24      Page 9 of 14 PageID #:
                                            3489



 explained that a reduction of hours for unsuccessful claims is only appropriate where plaintiffs

 “fail to prevail on claims that were unrelated to the claims on which he succeeded.” Hensley, 461

 U.S. 424, 434. Thus, “[i]n other cases the plaintiff’s claims for relief will involve a common core

 of facts or will be based on related legal theories.” Id. at 435. “Much of counsel’s time will be

 devoted generally to the litigation as a whole, making it difficult to divide the hours expended on

 a claim-by-claim basis.” Id. “Such a lawsuit cannot be viewed as a series of discrete claims.” Id.

 “Instead the district court should focus on the significance of the overall relief obtained by the

 plaintiff in relation to the hours reasonably expended on the litigation.” Id.

        Indeed, in cases such as this it is wholly improper to reduce hours or fees if portions of the

 litigation are not successful. See DiLaura v. Twp. of Ann Arbor, 471 F.3d 666, 672 (6th Cir. 2006)

 (explaining inappropriate to reduce fees based on unsuccessful motions); see also Jordan v. City

 of Cleveland, 464 F.3d 584, 603 (6th Cir. 2006) (holding that, where there is “an obvious and

 significant legal overlap” between claims, full recovery for counsel’s services is appropriate under

 Hensley); Imwalle v. Reliance Med. Prods., 515 F.3d 531 (6th Cir. 2008). And as was the case in

 Planned Parenthood Sw. Ohio Region v. Dewine, 931 F.3d 530, 544 (6th Cir. 2019), “the

 [government can] cite[] no precedent in support of this theory [that claims should be reduced

 because the Plaintiff did not achieve each and every form of relief originally requested].”

        Thus, "[w]hen claims are based on a common core of facts or are based on related legal

 theories, for the purpose of calculating attorney fees they should not be treated as distinct claims,

 and the cost of litigating the related claims should not be reduced." Deja Vu of Nashville, Inc. v.

 Metro. Gov't of Nashville & Davidson Cnty., 421 F.3d 417, 423 (6th Cir. 2005). The Sixth Circuit

 has "repeatedly rejected mechanical reductions in fees based on the number of issues on which a

 plaintiff has prevailed." Imwalle v. Reliance Med. Prods., Inc., 515 F.3d 531, 554 (6th Cir. 2008).



                                                   9
Case 3:21-cv-00367-RGJ-CHL            Document 161         Filed 10/11/24      Page 10 of 14 PageID
                                            #: 3490



        Consequently, the Sixth Circuit has explained, “[t]he key requirement for an award of

 attorney fees is that [t]he documentation offered in support of the hours charged must be of

 sufficient detail and probative value to enable the court to determine with a high degree of certainty

 that such hours were actually and reasonably expended in the prosecution of the litigation.”

 Imwalle, supra, 515 F.3d 531, 553 (6th Cir. 2008).

        Defendants’ vigorous efforts to oppose injunctive relief required extensive briefing,

 multiple court hearings, and a vigorous and prolonged response by Plaintiffs to persevere.

 Consequently, Defendants should not now complain about the hours that these tasks and

 undertakings caused. Case law is clear that where significant hours are expended by plaintiffs due

 to the litigation tactics of the defendants, the defendants will not then be heard to complain. See

 Torres v. Gristede's Operating Corp., 2012 U.S. Dist. LEXIS 127890 (S.D. NY. 2012) (“[t]he

 Court notes that much of the work performed by Plaintiffs was due to Defendants’ choice of

 litigation tactics. Given the Defendants’ vigorous approach to litigating this case, they cannot now

 complain as to the amount that Plaintiffs were forced to expend in response.”); Kassim v. City of

 Schenectady, 415 F.3d 246, 252 (2d Cir. 2005) (observing that “hours required to litigate even a

 simple matter can expand enormously” where “attorney is compelled to defend against frivolous

 motions and to make motions to compel [discovery] compliance”); Adcock-Ladd v. Secretary of

 Treasury, 227 F.3d 343 (6th Cir. 2000) (“defendants’ obstructive and dilatory litigation tactics”

 gave rise to the fees incurred). Here, and without question, each step in this litigation was

 contested, which required a significant amount of time, thus making the hours spent and claimed

 both reasonable and necessary.

        As Mr. Nemes explains in his declaration, and after a review of the proceedings in all of

 the courts, “the hours worked and fees requested comport with, and are reasonable in light of the



                                                  10
Case 3:21-cv-00367-RGJ-CHL                   Document 161            Filed 10/11/24          Page 11 of 14 PageID
                                                   #: 3491



 factors contained in the Kentucky Rules of Professional Conduct 1.5 insofar as they accurately

 reflect the time and labor required in the prosecution of this matter, the difficulty of the questions

 involved, the skill required to perform the work properly, comport with fees customarily charged

 by others for similar legal services, and are appropriate in light of the results obtained.” (Dec.

 Nemes at ¶17). That is because: “from the pleadings alone, I could determine that this case was

 litigated intensely.” Id.

          And his opinion has a solid foundation:

          I did not simply review the itemized billing records of Messrs. Bruns and Wiest, I also
          reviewed the major pleadings, motions/memoranda, and briefs drafted and filed on
          behalf of the Plaintiffs in this case. I compared the work product to the hours expended.
          In so doing, I considered not merely the length of the briefs, but the depth at which
          cases law and other legal authorities were examined, how extensively the record was
          cited to (in this case, a more time-consuming process in the briefs filed with the United
          States Sixth Circuit Court of Appeals),1 and how much work product was recycled
          from brief to brief to brief. I considered against the backdrop of my own experience
          as a litigation attorney who has drafted hundreds of legal briefs over my career. From
          my experience, I know that, inter alia, for motions or appellate briefs where extensive
          citation to a record is required (as opposed to a motion to dismiss which needs only to
          cite to the complaint itself), more drafting time is required; that the number of cases
          cited in a brief does not necessarily correlate to the amount of research time expended
          particularly where the issue is rare or developing; and that even where work product
          can be recycled between legal memoranda or briefs addressed to the same issue, it
          many times needs to be re-shaped to account for differences in the procedural posture
          of the case, the increasing or decreasing prominence of the issue, space (page length /
          word count) considerations, a different audience (trial court / appellate court) and the
          like. (Id. at ¶20).

          And he observed that:

          From the time records I reviewed, it was a fairly easy (if tedious) task to separate out
          the time charges for the various legal pleadings, memoranda, and briefs that were
          prepared in this case, which again, the time expended in this case primarily was spent

 1
   He provided a footnote that stated: “Of course, the rules applicable to Sixth Circuit appeals also create more time-
 consuming requirements, including the preparation of a table of contents and table of authorities. Although Microsoft
 Word has tremendous time-saving tools for such tasks, there is still a high degree of manual work that goes into this
 process – especially with the table of authorities, which requires the authorities to be tagged to be included, with page
 references, in the table. The rules also require the appellant and appellee to address other topics in the briefs such as
 a jurisdictional statement, and a summary of the argument, which are undoubtedly important and helpful to the Court
 itself, but adds to the time it takes to prepare an appellate pleading.”

                                                           11
Case 3:21-cv-00367-RGJ-CHL            Document 161        Filed 10/11/24      Page 12 of 14 PageID
                                            #: 3492



        on such activities (as opposed to developing a factual record via depositions,
        subpoenas, etc). Given the circumstances (in particular, the novelty of these legal
        challenges were raised, the rapid and contemporaneous development of legal precedent
        as this case was being litigated, and so forth as otherwise stated herein), I hold the
        opinion, to a reasonable degree of certainty as a practicing lawyer that the total hours
        spent in legal research and drafting to be reasonable and necessary for the litigation.
        (Id. at ¶21).

        Likewise, to a reasonable degree of certainty as a practicing lawyer, it is my opinion
        that the amount of time spent on other tasks such as communications, correspondence,
        attendance at hearings and oral arguments, and so forth (a far smaller percentage of the
        overall hours spent) was reasonable and necessary for the litigation. I also note that
        Messrs. Wiest and Bruns appear to have avoided unnecessary or inappropriate charges
        from their respective time sheets and I am satisfied that the total hours, as well as the
        hours spent on each task and pleading/filing is reasonable. Id. at ¶22.

        Mr. Nemes provides other observations and opinions about the time entries, but at

 bottom, he concludes that “it is my opinion, to a reasonable degree of certainty as a practicing

 lawyer, that any substantial reduction of an award of the attorney fees sought in this matter

 would have a substantial chilling effect on the vindication of civil rights matters in the future

 in this District. Congress enacted 42 U.S.C. 1988 to ensure that constitutional rights would be

 vindicated by competent counsel. No substantial deduction is, therefore, appropriate.” Id. at

 ¶24.

    c. Total fee calculations

        The total lodestar attorney fees sought is as follows:



   Attorney (and firm)          Hourly rate                  Hours                    Total

  Thomas Bruns (Bruns           $550 (normal)            180.1 (normal)             $99,055.00
  Connell)                       $250 (travel)            12.4 (travel)              $3,410.00

  Chris Wiest (Chris            $525 (normal)           465.6 (normal)             $244,400.00
  Wiest Law)                     $250 (travel)            10.2 (travel)            $2,550.00_
  T.J. Roberts (Chris               $250                      3.2                    $800.00
  Wiest Law)
  TOTAL                                                                             $350,215


                                                  12
Case 3:21-cv-00367-RGJ-CHL            Document 161         Filed 10/11/24      Page 13 of 14 PageID
                                            #: 3493




 (See Decls. of Wiest, Bruns). Plaintiffs reserve the right to supplement for time spent on the

 Reply to this motion, or for any additional time incurred on any appeal to any attorney fee

 decision. Northeast Ohio Coalition for the Homeless v. Husted, 831 F.3d 686, 723-724 (6th

 Cir. 2016) (prevailing party attorney fees include time spent in litigating the fee application

 and defending any fee appeal). The total time incurred was reasonable.

    d. The costs claimed are reasonable and normally charged to paying clients

        In addition to attorney fees, 42 U.S.C. 1988 authorizes the Court to award reasonable costs

 and expenses. See Waldo v. Consumers Energy Co., 726 F.3d 802, 821 (6th Cir. 2013). The Sixth

 Circuit has stated that, pursuant to § 1988, a court has the “authority to award those reasonable

 out-of-pocket expenses incurred by the attorney which are normally charged to a fee-paying client

 in the course of providing legal services.” Northcross v. Board of Ed. of Memphis City Sch., 611

 F.2d 624, 639 (6th Cir. 1979). Those costs in this matter involve service of process fees, court

 reporter fees for depositions, filing fees, service of process fees to secure witnesses, and the like.

 The $4,367.86 in requested costs are reasonable and customary. (Dec. Wiest; Dec. Bruns; Dec.

 Nemes).

 III.   CONCLUSION

        The Court should therefore award Plaintiffs reasonable attorney fees in the amount of

 $350,215 (plus additional time spent on the Reply in support of this motion), and costs/expenses

 in the amount of $4,367.86, for a total of $354,582.86.




                                                  13
Case 3:21-cv-00367-RGJ-CHL            Document 161       Filed 10/11/24      Page 14 of 14 PageID
                                            #: 3494



 Respectfully submitted,

 /s/ Christopher Wiest___________                     /s/ Thomas Bruns
 Christopher Wiest (KY 90725)                         Thomas B. Bruns (KBA 84985)
 Chris Wiest, Atty at Law, PLLC                       Bruns Connell Vollmar Armstrong LLC
 50 E. Rivercenter Blvd., Ste. 1280                   4555 Lake Forest Dr., Suite 330
 Covington, KY 41011                                  Cincinnati, OH 45242
 513/257-1895 (c)                                     tbruns@bcvalaw.com
 chris@cwiestlaw.com                                  513-312-9890
 Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

        I certify that I have served a copy of the foregoing upon all counsel of record, this 11 day

 of October, 2024, via CM/ECF.


        /s/ Christopher Wiest___________




                                                 14
